U.S. DISTRICT COURT for the EASTERN DISTRICT OF TENNESSEE at CHATTANOOGA
CIVIL MINUTES - GENERAL

cAsENo. /-04 @l/ o?§/?'
sTYLE: amy C{QMM M V$ v.
;`§'am',w</Wa£é S(:/»`Lo szwe,@

PR_E__SENT: Honorable ,&w $<- L_,w(:l/L/J % U. S. District Judge OR _U S Magistrate Judge

Cgrtroom/p Deputy Court $porter § §§ § Interpreter(s)

SWORN

 

Recorded

Attorney(s) for Plaintiff(S): MM¢¢MM¢AM l w/)Z/KL, X;M
Attorney(s) for Defendant(s): Mw@

PROCEEDINGS:

W

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Time:§h‘£p__to _q_‘._£§- Time: ____ to

Time: to Time: to

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Time: to Time: to Date

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